       Case 1:25-cv-10139-LTS        Document 5-1       Filed 01/21/25     Page 1 of 2




                                  TABLE OF EXHIBITS

Exhibit   Description
          Declaration of Sarah Adelman, Commissioner of New Jersey Department of Human
  A
          Services
          Declaration of Kathy Ehling, Assistant Commissioner for the Division of
  B
          Educational Services in the New Jersey Department of Education
          Declaration of Kaitlan Baston, Commissioner of the New Jersey Department of
  C
          Health
          Declaration of Laura Jamet, Assistant Commissioner of New Jersey Department of
  D
          Children and Families
          Declaration of Sharon C. Boyle, General Counsel of the Massachusetts Executive
  E
          Office of Health and Human Services (EOHHS)
   F      Declaration of Shelley Lapkoff, Senior Demographer at NDC
          Declaration of Michael F. Rice, Superintendent of Public Instruction within the
  G
          Michigan Department of Education (MDE)
          Declaration of Kelly Sesti, Director for the Bureau of Administration within the
  H       Children’s Services Administration (CSA) of the Michigan Department of Health
          and Human Services (MDHHS)
          Declaration of Jeffrey Duncan, State Registrar and the Director of the Division of
   I      Vital Records and Health Statistics (VRHS) within the Michigan Department of
          Health and Human Services (MDHHS)
          Declaration of Meghan Groen, Senior Deputy Director for Behavioral and Physical
   J      Health and Aging Services within the Michigan Department of Health and Human
          Services (MDHHS).
          Declaration of Lindy Harrington, Assistant State Medicaid Director at the California
  K
          Department of Health Care Services (DHCS)
          Declaration of Rachel A. Heenan, Director of the Special Education Division at the
  L
          California Department of Education (CDE)
          Declaration of Rita Nguyen, Assistant Public Health Officer for the State of
  M
          California at the California Department of Public Health (CDPH)
          Declaration of Elizabeth Villamil-Cummings, New York State Registrar and the
  N       Director of the Bureau of Vital Records at the New York Department of Health
          (DOH)
          Declaration of Gabrielle Armenia, Director of the Division of Eligibility and
  O       Marketplace Integration in the Office of Health Insurance Programs of the New
          York Department of Health (DOH)
          Declaration of Jonathan Fanning, Director of Fiscal Management of the New York
   P
          Department of Health (DOH)
          Declaration of Jennifer Avenia, Director of Immigration Practice for the Connecticut
  Q
          Department of Children and Families (DCF)
          Declaration of Peter Hadler, Deputy Commissioner for the Connecticut Department
  R
          of Social Services (DSS)
          Declaration of Yvette Gauthier, State Registrar of Vital Records of the Connecticut
   S
          Department of Public Health


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    Case 1:25-cv-10139-LTS       Document 5-1       Filed 01/21/25     Page 2 of 2




      Declaration of Tom Wong, Associate Professor at the University of California, San
T
      Diego (UCSD)
U     State Department’s Foreign Affairs Manual
      Declaration of Peri Weisberg, Principal Administrative Analyst in the Planning Unit
V
      of the City and County of San Francisco’s Human Services Agency
      Executive Order, “Protecting the Meaning and Value of American Citizenship,”
W
      (Jan. 20, 2025)
      Noah Webster, An American Dictionary of the English Language 635 (George &
X
      Charles Merriam 1860) (excerpt)
      1 William Blackstone, Commentaries on the Laws of England 366 (6th ed., Co. of
Y
      Booksellers, Dublin 1775) (excerpt)
Z     Cong. Globe, 39th Cong., 1st Sess. (excerpts)




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